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UNITED STATES DISTRICT COURT JAMES J. VILT, JR. - CLERK

for the sane
Western Division of Kentucky JAN 13 2025
U.S. DISTRICT COURT

WEST’N. DIST. KENTUCKY

Ron David Rock

Pro Se

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Judge Perlow, Child Support Enforcement,
County Attorney, Judicial Conduct Comm.,

Case No. 5:24CV181-BJB

MOTION TO RELEASE THE ADMINISTRATIVE OFFICE OF THE COURTS (AOC) FROM THE
SUIT AND PERMISSION TO AMEND THE COMPLAINT

Plaintiffs Motion to Release the Administrative Office of the Courts (AOC) from the Suit

Introduction:

The plaintiff, Ron Rock, respectfully submits this motion to release the Administrative Office of
the Courts (AOC) from the current suit. Upon further review (response to complaint) and
understanding of the AOC's role, the plaintiff acknowledges a misunderstanding regarding their
involvement and responsibilities in this matter. Ron offers a sincere apology to the AOC for this
intrusion and association.

Background:

The plaintiff initially included the AOC in the suit under the belief that their role encompassed
oversight and training responsibilities that directly impacted the case. However, upon gaining a
clearer understanding of the AOC's functions, it has become evident that their involvement does
not align with the claims presented in this suit.

Argument:

Misunderstanding of the AOC's Role:

The plaintiff acknowledges that the initial inclusion of the AOC was based on a
misunderstanding of their role and responsibilities. The AOC's primary function is administrative
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support and not direct involvement in judicial decisions or oversight of individual judges’ actions.

Lack of Direct Involvement:

The AOC does not have direct involvement in the specific actions and decisions that are the
basis of the plaintiffs claims. Therefore, their inclusion in the suit is not warranted.

The plaintiff sent an email 1-12-2025 to melissanormanbork@dentons.com the attorney for the
AOC. The email stated a motion will be filed on 1-13-2025 removing the AOC from suit with an
apology.

Focus on Relevant Parties:

Releasing the AOC from the suit allows the plaintiff to focus on the relevant parties whose
actions and decisions directly impacted the plaintiff's rights and well-being.

Conclusion:

For the reasons stated above, the plaintiff respectfully requests that the court grant this motion
to release the Administrative Office of the Courts (AOC) from the current suit. The plaintiff
acknowledges the misunderstanding and seeks to proceed with the case against the
appropriate parties.

Respectfully submitted,

Ron Rock x LIKE 20 26

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Attachment:

e Amended Complaint
